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                         EXHIBIT A
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  15   Attorneys for Defendant
  16   [Additional counsel appearing on signature page]
  17                        UNITED STATES DISTRICT COURT
  18         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19
  20   Edwardo Munoz, individually and on
       behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
  21
                                 Plaintiff,
  22                                               STIPULATION OF SETTLEMENT
              v.
  23                                                    Judge: Hon. R. Gary Klausner
       7-Eleven, Inc., a Texas corporation,             Magistrate Judge: Hon. A. Rosenberg
  24
                                 Defendant.         Complaint Filed: May 9, 2018
  25                                                Trial Date: July 2, 2019
  26
  27
  28
       STIPULATION OF SETTLEMENT
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   1         This Stipulation of Settlement (the “Agreement” or “Settlement Agreement”)
   2   is dated June 17, 2019 (irrespective of when signed for reference purposes), and is
   3   entered into by and among (i) Plaintiff Edwardo Munoz on behalf of himself and the
   4   Settlement Class (as defined below), and (ii) Defendant 7-Eleven, Inc. (“7-Eleven”
   5   or “Defendant”). This Agreement is intended by the Parties to fully, finally, and
   6   forever resolve with prejudice, discharge, and settle the Released Claims (as defined
   7   below), as well as any and all other matters at issue, or potentially at issue, in this
   8   litigation, upon and subject to the terms and conditions of this Agreement and
   9   subject to the final approval of the Court having jurisdiction over the Parties and
  10   these Released Claims.
  11
                                            RECITALS
  12
  13         A.     On May 9, 2018, named plaintiff Edwardo Munoz filed a class action
  14   complaint and jury demand in this Court in the above-captioned action on behalf of
  15   himself and all others similarly situated against Defendant 7-Eleven, Inc.
  16         B.     Following meet-and-confer efforts between the Parties, Plaintiff filed a
  17   First Amended Complaint on July 9, 2019 (“FAC”), which is the operative complaint
  18   in this matter. The FAC alleges that 7-Eleven violated the Fair Credit Reporting Act’s
  19   (“FCRA”) “stand alone” and “clear and conspicuous” requirements of 15 U.S.C. §
  20   1681b(b)(2)(A)(i) with the background check disclosure and authorization form
  21   (“Form”) Plaintiff and the Class executed as part of their newhire paperwork. The
  22   FAC sought damages and injunctive relief on behalf of a nationwide class.
  23         C.     On October 19, 2018, the Court, the Honorable R. Gary Klausner
  24   presiding, granted Plaintiff’s Motion for Class Certification (dkt. 43).
  25         D.     Prior to and following class certification, and throughout the case, the
  26   Parties have engaged in motion practice, class certification, written and oral
  27   discovery, and informal discovery regarding the size and scope of the Class and the
  28   underlying merits of the case.
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   1            E.   On April 9, 2019, counsel for Plaintiff Munoz, 7-Eleven’s corporate
   2   representative, and counsel for 7-Eleven engaged in a full-day mediation in Toronto,
   3   Ontario, Canada, with Michael Dickstein of Dickstein Dispute Resolution, a well-
   4   respected mediator, in an attempt to resolve the case.
   5            F.   Through the mediation process, the Parties conducted further informal
   6   discovery and exchanged additional information about the size and scope of the
   7   Class.
   8            G.   Following extensive back-and-forth discussions and negotiations
   9   facilitated by Mr. Dickstein, the Parties reached an agreement on the framework of
  10   the proposed settlement and the relief to be made available to the Class upon Court
  11   approval.
  12            H.   Following an agreement in principle with respect to the relief to be
  13   afforded to the Class, the Parties negotiated an incentive award for the proposed
  14   Class Representative and reasonable attorneys’ fees for proposed Class Counsel.
  15            I.   At all times, 7-Eleven has denied and continues to deny all wrongdoing
  16   whatsoever and has denied and continues to deny that it committed, threatened, or
  17   attempted to commit any wrongful act or violation of any law or duty alleged in the
  18   Action, including but not limited to the FCRA. 7-Eleven also contends that it has
  19   acted properly in all respects in connection with its procurement and use of
  20   consumer reports/background checks for applicants and employees.
  21            J.   7-Eleven also denies: (1) each and every claim and contention alleged;
  22   (2) all charges of wrongdoing or liability against it or its agents arising out of any
  23   conduct, statements, acts, or omissions alleged in the Action; and (3) that Plaintiff or
  24   the Class are entitled to any form of damages or other relief based on the conduct
  25   alleged in the Action.
  26            K.   7-Eleven also maintains that it has strong, meritorious defenses to the
  27   claims alleged in the Action and that it was prepared to vigorously defend all aspects
  28   of the Action. Nonetheless, having conducted an investigation of the facts, analyzed
       STIPULATION OF SETTLEMENT
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   1   the relevant legal issues, and taken into account the uncertainty and risks inherent in
   2   any litigation, 7-Eleven has concluded that further defense of the Action would be
   3   protracted, burdensome, and expensive and that as such, it is desirable and beneficial
   4   to fully and finally settle and resolve the Action in the manner and upon the terms
   5   and conditions set forth in this Agreement.
   6         L.      This Agreement therefore is a compromise of disputed rights and
   7   remedies between the Parties, and the Parties acknowledge and agree it represents a
   8   fair and reasonable resolution of disputes, claims, and defenses for all concerned.
   9   This Agreement, any related documents, and any associated negotiations may not be
  10   construed as, or deemed to be evidence of, or an admission or concession of, liability
  11   or wrongdoing on the part of 7-Eleven or any of the Released Parties (defined
  12   below) with respect to any claim of any fault, liability, wrongdoing, or damage
  13   whatsoever.
  14         M.      It is understood and agreed that this Agreement represents a full and
  15   final resolution of all claims, at law or in equity, whether known or unknown, that
  16   relate to, are based on, or arise out of the facts, allegations, claims, causes of action,
  17   transaction or series of transactions, or damages alleged or that were or could have
  18   been brought in the Action.
  19         N.      Plaintiff Munoz believes that the claims asserted in the Action against 7-
  20   Eleven on behalf of himself and the certified Class have merit and that he and the
  21   Class would have ultimately been successful in prevailing on the merits.
  22   Nonetheless, Plaintiff Munoz and Class Counsel recognize and acknowledge that 7-
  23   Eleven has raised factual and legal defenses that present a risk that Plaintiff Munoz
  24   and the Class may not prevail. Plaintiff and Class Counsel have also taken into
  25   account the uncertain outcome and risks of any litigation, especially in complex
  26   actions, as well as the difficulties, delays, and expenses inherent in such litigation.
  27   Therefore, Plaintiff believes that it is desirable that the Released Claims be fully and
  28
       STIPULATION OF SETTLEMENT
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   1   finally compromised, settled and resolved, with prejudice, and be barred pursuant to
   2   the terms set forth in this Agreement.
   3          O.     Based on their evaluation, Class Counsel have concluded that the terms
   4   and conditions of this Agreement are fair, reasonable, and adequate to the Class and
   5   that it is in the best interests of the Class to settle the claims raised in the Action
   6   pursuant to the terms and provisions of this Agreement.
   7          P.     The Parties agree that the Action has been resolved in good faith, after
   8   significant arm’s-length bargaining, presided over by a neutral and respected
   9   mediator, and that the settlement reflected in this Agreement confers substantial
  10   benefits upon each of the Parties.
  11          Q.     Accordingly, to avoid the costs of trial and the exigencies of continued
  12   litigation and to settle and dispose of, fully and completely and forever, the Released
  13   Claims and any and all claims and causes of action asserted in the Action, subject to
  14   final approval of the Court after a fairness hearing or hearings as provided for below,
  15   and that upon final approval of this Agreement by the Court and fulfillment of each
  16   Party’s obligations the Court will enter a final order dismissing this Action with
  17   prejudice.
  18
                                  SETTLEMENT AGREEMENT
  19
  20   1.     DEFINITIONS
  21                 In addition to terms defined throughout this Agreement and in any
  22   schedule or exhibits, the following terms shall have the meaning set forth below and
  23   shall be deemed defined, for purposes of this Agreement only, as follows:
  24          1.1    “Action” means this lawsuit, which is captioned Munoz v. 7-Eleven,
  25   Inc., 2:18-cv-03893-RGK-AGR (C.D. Cal.).
  26          1.2    “Approved Claim” means a Claim that meets all requirements
  27   expressly set forth in this Agreement and approved by the Settlement
  28   Administrator that also meets the following requirements: (a) the Claim is
       STIPULATION OF SETTLEMENT
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   1   submitted on a timely basis in accordance with the directions on the Claim Form
   2   and the provisions of this Agreement, (b) the Claim is fully and truthfully
   3   completed and executed by a Class Member and provides all of the information
   4   requested on the Claim Form, (c) the Claim is signed by the Class Member,
   5   subject to the penalties of perjury, and (d) the Claim Form is verified by the
   6   Settlement Administrator as being on the Class List and not a duplicate or
   7   otherwise invalid claim, pursuant to Section 2 of this Agreement.
   8         1.3    “Claim” means a written claim on the approved “Claim Form”
   9   submitted by a Class Member to the Settlement Administrator requesting to
  10   participate in and receive a benefit under the terms of this Settlement Agreement.
  11         1.4    “Claimant Payments” mean the amounts due to each Class Member
  12   who timely files an Approved Claim equal to the Class Member’s share of the Net
  13   Settlement Fund.
  14         1.5    “Claims Deadline” means the date by which all Claim Forms must
  15   be postmarked or received by the Settlement Administrator in order to be
  16   considered timely. The Claims Deadline shall be a date no later than fourteen (14)
  17   days prior to the deadline for Class Counsel and Plaintiff to file a Motion for Final
  18   Approval. The Claims Deadline shall be clearly set forth in the Preliminary
  19   Approval Order and on the Notice and the Claim Form.
  20         1.6    “Claim Form” means the forms drafted by Class Counsel and
  21   Defendant, subject to the Court’s approval, which, to recover a portion of the
  22   Settlement, each Class Member must complete in full, sign, and timely mail to the
  23   Settlement Administrator. The Claim Form will be mailed to each Class Member
  24   with the notice and will be made available in paper format upon request to the
  25   Settlement Administrator or to Class Counsel.
  26         1.7     “Class” or “Settlement Class” means all Persons who fall into the
  27   definition of either class certified by the Court in its Order granting Class
  28   Certification of October 18, 2018 (dkt. 43), which for convenience were defined as
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   1   follows:
   2         Disclosure Class: All persons in the United States who (1) from a date [two
   3         years] prior to the filing of this initial complaint in this action to the date
   4         notice is sent to the Disclosure Class; (2) applied for employment with
   5         Defendant; (3) about whom Defendant procured a consumer repot; and (4)
   6         who were provided the same for FCRA disclosure and authorization as the
   7         disclosure and authorization form that Defendant provided to Plaintiff.
   8         California Subclass: All members of the Disclosure Class who reside in
   9         California.
  10         1.8      “Class Counsel” means Steven Woodrow and Patrick Peluso of
  11   Woodrow & Peluso, LLC.
  12         1.9      “Class List” means the list of Persons identified by 7-Eleven to be
  13   provided to the Settlement Administrator who are members of the Class, which 7-
  14   Eleven represents it used its best efforts to compile.
  15         1.10 “Class Member” or “Settlement Class Member” means a Person is
  16   a member of the Class (including the proposed Class Representative) who has not
  17   submitted a valid request for exclusion. 7-Eleven reasonably believes that the total
  18   estimated size of the Class is comprised of approximately 59,920 Persons.
  19         1.11 “Class Representative” or “Named Plaintiff” means Plaintiff
  20   Edwardo Munoz, subject to the approval of the Court.
  21         1.12 “Court” means the United States District Court for the Central
  22   District of California.
  23         1.13 “Cy Pres Designees” means the Education Fund of the National
  24   Association of Consumer Advocates. Should the Court not approve the Education
  25   Fund of the National Association of Consumer Advocates as a cy pres recipient,
  26   the Cy Pres Recipient shall mean any other such organization that the Court deems
  27   appropriate.
  28         1.14 “Defendant” or “7-Eleven” means 7-Eleven, Inc.
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   1         1.15 “Defense Counsel” or “7-Eleven’s Counsel” means defense
   2   counsel, Julie Trotter, Delavan Dickson, and Kent Christensen of Call & Jensen.
   3         1.16    “Effective Date” means one (1) business day after which all of the
   4   events and conditions specified in Section 9.1 have occurred or have been met.
   5         1.17 “Fair Credit Reporting Act” or “FCRA” or “the Act” means and
   6   refers to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.
   7         1.18 “Fee Award” means the amount of reasonable attorneys’ fees and
   8   reimbursement of expenses, if any, awarded by this or any other Court to Class
   9   Counsel for their work pursuing this Action which Defendant will pay from the
  10   Settlement Fund.
  11         1.19 “Final” means one business day following the latest of the following
  12   events: (i) the date upon which the time expires for filing or noticing any appeal of
  13   the Court’s Final Order approving this Settlement Agreement; (ii) if there is an
  14   appeal or appeals, other than an appeal or appeals solely with respect to the Fee
  15   Award, the date of completion, in a manner that finally affirms and leaves in place
  16   the Final Order without any material modification, of all proceedings arising out
  17   of the appeal or appeals (including, but not limited to, the expiration of all
  18   deadlines for motions for reconsideration or petitions for review or certiorari, all
  19   proceedings ordered on remand, and all proceedings arising out of any subsequent
  20   appeal or appeals following decisions on remand); or (iii) the date of final
  21   dismissal of any appeal or the final dismissal of any proceeding on certiorari.
  22         1.20 “Final Approval Hearing” means the fairness hearing under Rule
  23   23(e) during which the Parties will ask the Court to enter the Final Order
  24   approving the Settlement Agreement, the incentive award to the Class
  25   Representative, and the Fee Award, to be scheduled in the Preliminary Approval
  26   Order and set forth in both the Short Form Notice and Long Form Notice.
  27         1.21 “Final Approval Order and Judgment” means the order in which
  28   the Court grants final approval of this Settlement Agreement, authorizes the entry
       STIPULATION OF SETTLEMENT
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 1   of a final judgment, and dismisses the Action with prejudice.
 2         1.22   “Funding Date” means the date by which 7-Eleven must forward to
 3   the Settlement Administrator by wire the sum of the balance remaining between
 4   the Initial Deposit and the Settlement Fund. The Funding Date shall be no later
 5   than fourteen (14) days following the date the Final Approval Order and Judgment
 6   becomes Final.
 7         1.23 “Incentive Award” means the amount, if any, approved by the Court
 8   as a payment to the Class Representative in recognition of the Class
 9   Representative’s time, effort, and exposure on behalf of the Class Members.
10         1.24 “Judgment” means the Judgment entered to by the Court
11   incorporating the terms of this Settlement Agreement as approved in the Final
12   Order.
13         1.25 “Long Form Notice” means traditional “long form” notice to be
14   made available on the Settlement Website, describing the terms of this Settlement
15   Agreement and containing information on how to file a claim, opt-out of the
16   Settlement Class, or object, and which will be made available in accordance with
17   Section 4 of this Settlement Agreement, substantially in the form of Exhibit A
18   hereto.
19         1.26 “Nationwide” means the fifty (50) states of the United States of
20   America and its territories or possessions that are subject to the FCRA or any
21   claims asserted in the Action.
22         1.27 “Net Settlement Fund” defined and calculated as the total
23   Settlement Fund (one million nine hundred seventy two-thousand and five
24   hundred dollars, $1,972,500 USD) less the sum of all Settlement Administration
25   Costs, any Incentive Award to the Settlement Class Representative, and any Fee
26   Award as approved by the Court respectively).
27         1.28 “Notice Date” means the date by which direct-mail notice under the
28   Notice Plan set forth in Section 4 has been sent, which shall be a date no later than
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 1   twenty one (21) days after entry of the Preliminary Approval Order.
 2         1.29 “Notice Plan” means the proposed plan developed by the Settlement
 3   Administrator and approved by the Parties for disseminating notice to members of
 4   the Class of the proposed Settlement Agreement and of the Final Approval
 5   Hearing.
 6         1.30 “Objection/Exclusion Deadline” means the date by which a written
 7   objection to this Settlement Agreement or a request for exclusion by a Person
 8   within the Class must be postmarked or filed with the Court, which shall be
 9   designated as a date no earlier than forty-five (45) days after the Notice Date and
10   at least fourteen (14) days after papers supporting the Fee Award are filed with the
11   Court and made available on the Settlement Website.
12         1.31     “Parties” or “Settling Parties” means Plaintiff Edwardo Munoz
13   and Defendant 7-Eleven.
14         1.32 “Person” means any individual or any entity including, without
15   limitation, a corporation, partnership, limited partnership, limited liability
16   partnership, limited liability company, association, joint stock company, estate,
17   legal representative, trust, unincorporated association, and any other business or
18   legal entity and their respective predecessors, successors, representatives, and
19   assigns.
20         1.33 “Plaintiff” means the Named Plaintiff Edwardo Munoz.
21         1.34 “Preliminary Approval” means the Court’s preliminary approval of
22   the Settlement Agreement and approval of the form of the Notice and of the
23   Notice Plan.
24         1.35 “Preliminary Approval Order” means the Court’s order
25   preliminarily approving the Settlement Agreement, confirming the prior
26   certification of the Class, and directing notice of the Settlement to the Class.
27         1.36 “Released Claims” means any and all actual, potential, filed, known
28   or unknown, fixed or contingent, claimed or unclaimed, suspected or unsuspected,
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 1   claims, demands, liabilities, rights, causes of action, contracts or agreements,
 2   extra-contractual claims, punitive, treble, exemplary, statutory, or multiplied
 3   damages, expenses, costs, attorneys’ fees, fines, penalties, awards, interest
 4   (including pre-judgment interest), and all other obligations, whether in law or in
 5   equity, accrued or unaccrued, direct, individual or representative, of every nature
 6   and description whatsoever, whether based on the FCRA or any other federal,
 7   state, local, statutory or common law or any other law, rule or regulation,
 8   including the law of any jurisdiction outside the United States (including both
 9   direct, vicarious, and derivative claims), and whether known or unknown, against
10   the Released Parties or any of them that relate to, are based on, or arise out of the
11   facts, allegations, claims, causes of action, transaction or series of transactions, or
12   damages alleged or that were or could have been brought in the Action, including
13   any and all alleged violations of the FCRA or any similar federal, state, local,
14   statutory, or common law or any other similar law, rule or regulation.
15         1.37 “Released Parties” means Defendant 7-Eleven and all current and
16   former, direct and indirect, parents, subsidiaries, brother-sister companies, and all
17   other affiliates and related partnerships, joint ventures, or other entities, and, with
18   respect to each of them, their predecessors and successors; and, with respect to
19   each such entity, all of its past, present, and future employees, officers, directors,
20   stockholders, owners, insurers, representatives, assigns, attorneys, agents, insurers,
21   employee benefit programs (and the trustees, administrators, fiduciaries, and
22   insurers of such programs), and any other persons acting by, through, under or in
23   concert with any of the persons or entities listed in this section, and their
24   successors.
25         1.38 “Releasing Parties” means Plaintiff Munoz and those Class
26   Members who do not timely opt out of the Class (whether or not such Class
27   Members submit claims).
28         1.39 “Settlement Administration Expenses” means the expenses
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 1   incurred by the Settlement Administrator in providing Notice, maintaining the
 2   Settlement Website, processing claims, mailing checks for Approved Claims, as
 3   well as any costs incurred in sending the Class Action Fairness Act notices
 4   described in Section 4.2(g) below. 7-Eleven will pay all Settlement Administration
 5   Expenses incurred in connection with this Agreement.
 6         1.40 “Settlement Administrator” means the third-party administrator
 7   selected by the Parties and approved by the Court to oversee the distribution of
 8   Notice and to process and pay Approved Claims to the Class Members, in
 9   accordance with the terms and conditions set forth in this Agreement, and any
10   other amounts to any other Persons required under this Agreement.
11         1.41 “Settlement Agreement” “Settlement” or “Agreement” means this
12   Agreement and the settlement contemplated hereunder.
13         1.42 “Settlement Checks” mean the checks to be issued by the Settlement
14   Administrator from the Settlement Fund in the amount of the Claimant Payments.
15   Settlement Checks shall be issued no later than twenty one (21) days following the
16   Funding Date.
17         1.43 “Settlement Fund” means the total aggregate common fund that 7-
18   Eleven will be obligated to pay by operation of this Settlement Agreement if it
19   receives final approval from the Court and the Judgment becomes Final. The
20   Settlement Fund equals one-million, nine-hundred seventy-two thousand, five-
21   hundred dollars ($1,972,500 USD) and constitutes 7-Eleven’s exclusive and total
22   payment obligation under this Settlement Agreement to settle the Action in full.
23   The Settlement Fund will be used to pay: (a) the Settlement Checks to Settlement
24   Class Members who submit Approved Claims; (b) any Fee Award; (c) any
25   Incentive Award approved by the Court; and (d) all Settlement Administration
26   Costs. The Settlement Fund represents the total extent of 7-Eleven’s monetary
27   obligations under this Agreement. The Settlement Fund shall be maintained in an
28   interest-bearing account if possible at a bank chosen by the Settlement
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 1   Administrator (“the Settlement Bank Account”). The Settlement Administrator
 2   shall establish the Settlement Bank Account at a bank that is insured by the
 3   Federal Deposit Insurance Corporation and that has total assets of at least five-
 4   hundred million dollars ($500,000,000 USD) and a short-term deposit rating of at
 5   least P-1 (Moody’s) or A-1 (Standard & Poor’s). Any costs associated with
 6   opening and/or maintaining the bank account to hold the Settlement Fund shall be
 7   deducted from the Settlement Fund. The Settlement Administrator shall be
 8   responsible for all tax filings with respect to any earnings on the Settlement Fund
 9   and the payment of all taxes that may be due on such earnings.
10         1.44 “Settlement Website” means the Internet website to be established,
11   administered and maintained by the Settlement Administrator as set forth in
12   Section 4 of this Settlement Agreement which shall contain the Long Form
13   Notice, important dates and deadlines, and key Settlement documents and orders.
14   The Settlement Website will also allow Settlement Class Members to file Claim
15   Forms electronically.
16         1.45   “Short Form Notice” means the notice of this proposed Class
17   Action Settlement and Final Approval Hearing, which will be delivered via direct-
18   mail notice to the Class Members in substantially the manner set forth in this
19   Agreement, consistent with the requirements of due process and Rule 23, as
20   expressly provided in this Agreement and as substantially in the form attached as
21   Exhibit B.
22   2.    CLASS BENEFITS
23         2.1    Payments to Settlement Class Members. No later than the Funding
24   Date, 7-Eleven shall deposit into the Settlement Bank Account the Settlement Fund .
25   7-Eleven shall have no payment obligations under this Settlement other than the
26   Settlement Fund. In the event that this Settlement Agreement terminates or is not
27   approved, any advances paid to the Settlement Administrator by 7-Eleven that have
28   not been spent, and are not required for amounts that are due and payable for
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 1   reasonable and identified notice and administration costs already incurred, shall,
 2   within ten (10) business days, be returned by the Settlement Administrator to 7-
 3   Eleven by payment to an account designated by 7-Eleven.
 4                a)     To facilitate the notice and claims administration process, 7-
 5   Eleven and its counsel will provide to the Settlement Administrator, in an
 6   electronically searchable and readable format, the Class List. Any information on the
 7   Class List shall be provided solely for the purpose of providing notice to the Class
 8   and informing them about their rights further to this Settlement, shall be kept in strict
 9   confidence and, subject to a Stipulated Protective Order, shall not be disclosed to any
10   third party other than the parties to this Agreement and their counsel if necessary to
11   effectuate the terms of the Agreement or the administration process, shall be used for
12   no other cases, and shall be used for no other purpose.
13                b)     Subject to the terms and conditions of this Agreement, Class
14   Members shall qualify for payment from the Settlement Fund if they submit a Claim
15   Form before the Claims Deadline that is an Approved Claim and they are on the
16   Class List. Only one claim per person shall be permitted.
17                c)     Each Class Member who submits an Approved Claim shall be
18   eligible to receive one (1) Claimant Payment of equal value, which is to be
19   determined by dividing the Net Settlement Fund by the total number of Approved
20   Claims. However, in no event shall any Class Member receive a Claimant Payment
21   greater than five-hundred fifty dollars ($550), which shall be the maximum payout.
22   If the $550 cap is triggered, any remaining funds from the Net Settlement Fund shall
23   be distributed evenly among the Cy Pres designees approved by the Court.
24                d)     Settlement Checks for the Claimant Payments shall be valid for
25   ninety (90) days after issuance. Settlement Checks shall be issued to Class members
26   who filed Approved Claims within twenty-one (21) days of the Funding Date. Any
27   funds associated with Settlement Checks not cashed by Settlement Class Members
28   within that time will remain in the Settlement Fund unless such Settlement Check is
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 1   returned as undeliverable to the Settlement Administrator within the 90-day period
 2   after issuance (“Returned Settlement Checks”). With respect to Returned Settlement
 3   Checks, the Settlement Administrator will make one (1) reasonable attempt at re-
 4   mailing to the address on file or to any updated address determined by using the
 5   national change of address registry. Re-mailed checks shall be valid for ninety (90)
 6   days after issuance of the re-mailing.
 7                 e)      Any amounts remaining in the Settlement Fund after payment of
 8   all Claimant Payments, Settlement Administration Costs, Fee Award and Incentive
 9   Award will be paid to the Cy Pres Recipients, as approved by the Court.
10                 f)      Notwithstanding any judgment, principle, or statute, there shall
11   be no interest accrued, owing, or paid by 7-Eleven on the Claimant Payments, or on
12   the Settlement Fund, or on any other benefit available (or potentially available)
13   under this Agreement.
14          2.2    Prospective Relief. The Parties and Settlement Class agree that the
15   language below satisfies the requirements of 15 U.S.C. § 1681b(b)(2)(A)(i), which
16   is the content in 7-Eleven’s current background check disclosure form:
17
                   CONSUMER REPORT DISCLOSURE AND AUTHORIZATION
18
19   7-Eleven, Inc. may obtain, where permitted, one or more “consumer reports” as that term is defined
     in the Fair Credit Reporting Act (“FCRA”) to use for employment purposes in connection with
20   your employment, or your application for employment (i.e., for the purpose of considering you for
     employment) with 7-Eleven, Inc. Consumer reports may contain information concerning your
21   criminal history, driving history, education history, employment history, records of military
     service, and other background information where permissible by law.
22
23   By affixing your electronic signature below, you authorize 7-Eleven, Inc. to obtain, where
     permitted, one or more consumer reports in connection with your employment or application for
24   employment with 7-Eleven, Inc.

25
     First Name:
26   Full Middle Name:
27   Last Name:
     Address:
28   Email Address:
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     Date of Birth:
 1   Social Security Number:
 2
     This is an electronic signature and is given in accordance with U.S. federal regulations governing
 3   the legal and binding effectiveness of electronic signatures. By providing this electronic signature,
     you are acknowledging that you have carefully read this notice and authorization form, and
 4   understand it.
 5          .
 6          2.3     Payments Not Wages. The Parties agree that payments under this
 7   Agreement do not constitute wages, these payments are not subject to FICA or
 8   other withholding, and each Settlement Class Member who is eligible for and
 9   receives a payment under this Agreement will be solely responsible for payment
10   of any taxes on the amount received.
11   3.     RELEASES
12         3.1      Released Claims. The obligations incurred under this Settlement
13   Agreement shall constitute a full and final disposition, settlement, and dismissal of
14   the Action and of any and all Released Claims by the Releasing Parties against all
15   Released Parties and each of them.
16         3.2      Release. Upon the Effective Date, the Releasing Parties and each of
17   them, jointly and severally, shall be deemed to have, and by operation of the Final
18   Order, shall have fully, finally, and forever released, relinquished, waived, and
19   discharged with prejudice all Released Claims against the Released Parties and
20   each of them.
21         3.3      All Claims, Known and Unknown, Extinguished. In addition, upon
22   the Effective Date the Class Representative, on behalf of himself and his present,
23   former, and future heirs, executors, administrators, representatives, agents,
24   attorneys, partners, successors, predecessors-in-interest, and assigns of each of
25   them, shall be deemed to have released any and all claims, known or unknown,
26   against 7-Eleven and the Released Parties that were or could have been brought
27   against 7-Eleven and the Released Parties either in the Action or in any separate
28   proceeding in any court of competent jurisdiction. 7-Eleven shall be able to raise a
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 1   defense in any subsequent action alleging Released Claims that payments to any
 2   Person based on an Approved Claim operates as an accord and satisfaction and a
 3   release and waiver as to any claims such Persons may otherwise have arising
 4   from, or which could have been asserted in, the Action.
 5         3.4     California Section 1542. For the Released Claims, each Settlement
 6   Class Member who applied for or worked in the State of California waives all
 7   rights and benefits afforded by California Code Section 1542 and does so with full
 8   understanding of the significance of that waiver. Section 1542 states: “A general
 9   release does not extend to claims that the creditor or releasing party does not
10   know or suspect to exist in his or her favor at the time of executing the
11   release and that, if known by him or her, would have materially affected his
12   or her settlement with the debtor or released party.” The Class Representative
13   and Settlement Class Members acknowledge that they may discover facts in
14   addition to or different from those that they now know or believe to be true with
15   respect to the subject matter of this release, but that it is their intention to finally
16   and forever settle and release the Released Claims, notwithstanding any unknown
17   claims they may have, as that term is defined in this Agreement.
18   4.     NOTICE, EXCLUSIONS & OBJECTIONS
19          4.1    Notice Plan
20                 a)     The Parties agree to provide the best notice that is practicable
21   under the circumstances, including individual notice to Persons in the Class who
22   may be identified through reasonable efforts.
23                 b)     7-Eleven shall, within fourteen (14) days of entry of the
24   Preliminary Approval Order, provide the Settlement Administrator with the Class
25   List. The Settlement Administrator shall use the Class List to take all steps
26   reasonably necessary, including reverse phone look-ups of the phone numbers, to
27   identify the owner of the numbers in the Class List at the relevant time together
28   with such Persons’ last known mailing address and email address, where
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 1   available. After identifying mailing addresses through this process, the Settlement
 2   Administrator shall, by using the National Change of Address (“NCOA”) database
 3   maintained by the United States Postal Service (“Postal Service”), obtain updated
 4   mailing addresses, if available.
 5                c)     Within thirty (30) days following entry of the Preliminary
 6   Approval Order, the Settlement Administrator shall send the Short Form Notice to
 7   each Class Member via first class mail for those Class Members for whom a
 8   mailing address has been obtained. Wherever an email address has been located,
 9   the Settlement Administrator will also email the Short Form Notice, in a form
10   appropriate for email, to the email address. Neither the Parties nor the Settlement
11   Class Administrator shall have any obligation to mail or email the Short Form
12   Notice to any Settlement Class Member for whom no mailing address or email
13   address could be located following the process set forth in 4.3.b above. If and to
14   the extent deemed necessary by the Settlement Administrator, the last known
15   address of Persons in the Class will be subject to confirmation or updating as
16   follows: (i) the Settlement Administrator may conduct a reasonable search to
17   locate an updated address for any Person in the Class whose Short Form Notice is
18   returned as undeliverable; (ii) the Settlement Administrator shall update addresses
19   based on any forwarding information received from the United States Post Office;
20   and (iii) the Settlement Administrator shall update addresses based on information
21   it receives and through any requests received from Persons in the Class.
22                d)     If any Short Form Notice sent under this Section is returned by
23   the Postal Service as undeliverable, the Settlement Administrator shall re-mail the
24   Short Form Notice once to the forwarding address, if any, provided by the Postal
25   Service on the face of the returned mail. Otherwise, the Settlement Administrator
26   shall attempt to send notice via email. Other than as set forth in this paragraph,
27   neither the Parties nor the Settlement Administrator shall have any other
28   obligation to re-mail the Short Form Notice.
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 1                e)     The Settlement Administrator shall have discretion to format
 2   the Short Form Notice and Claim Form in a reasonable manner to minimize
 3   mailing or administrative costs. Before the Short Form Notices are mailed, Class
 4   Counsel and Counsel for Defendant shall first be provided with a proof copy of
 5   any and all notices (including what the items will look like in their final form), and
 6   shall have the right to inspect the same for compliance with the Settlement
 7   Agreement and with any orders by the Court.
 8                f)     No later than twenty-one (21) days following the entry of the
 9   Preliminary Approval Order, the Settlement Administrator shall cause the Long
10   Form Notice, a downloadable Claim Form that may be printed and mailed to the
11   Settlement Administrator, an electronic version of the Claim Form that may be
12   completed and submitted electronically, this Settlement Agreement and Exhibits,
13   the FAC, the Preliminary Approval Order, and any other relevant documents to be
14   made available on a dedicated Settlement Website, the website name/URL for
15   which is to be agreed upon by the Parties, to be administered by the Settlement
16   Administrator. When available, the Settlement Administrator shall make available
17   on the Settlement Website Class Counsel’s application for a Fee Award and any
18   motion seeking approval of any Incentive Award as well as the Final Approval
19   Order. Any other content proposed to be included or displayed on the Settlement
20   Website shall be approved in advance by Class Counsel and Defendant’s Counsel.
21   Such approvals shall not be unreasonably withheld.
22                g)     Within thirty (30) days after entry of the Preliminary Approval
23   Order, the Settlement Administrator shall set up a toll-free telephone number that
24   will provide automated information about the settlement, the Class Members’
25   rights, important deadlines, and instructions as to how Class Members may
26   request and obtain hard-copy settlement documents. That telephone number shall
27   be maintained until the Claims Deadline. After that time, and through the date the
28   Final Approval Order is entered, a recording will advise any caller to the toll free
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 1   telephone number that the Claims Deadline has passed and that details regarding
 2   the settlement may be reviewed on the Settlement Website.
 3                h)     7-Eleven and the Settlement Administrator shall be responsible
 4   for timely compliance with any notice required by the Class Action Fairness Act
 5   (“CAFA”), 28 U.S.C. § 1715. 7-Eleven shall provide proof of such compliance by
 6   filing a confirmation declaration with the Court at least fourteen (14) days prior to
 7   the Final Approval Hearing.
 8                i)     Claim Forms shall be returned or submitted to the Settlement
 9   Administrator via U.S. Mail or via submission through the Settlement Website, by
10   the Claims Deadline or be forever barred.
11         4.2    Right to Opt Out, Comment, or Object. The Notice shall advise the
12   Class Members of their rights, including the right to be excluded from, comment
13   upon, or object to the Settlement Agreement or its terms and conditions. The
14   Notice shall specify that: (i) any objection to the Settlement Agreement and any
15   papers submitted in support of an objection shall be considered by the Court at the
16   Final Approval Hearing only if, on or before the Objection/Exclusion Deadline
17   approved by the Court and specified in the Notice, the Person making an objection
18   files notice of his or her intention to do so and at the same time files copies of such
19   papers he or she proposes to submit at the Final Approval Hearing with the Clerk
20   of the Court and sends copies of such papers by mail, hand, or overnight delivery
21   service to Class Counsel and 7-Eleven’s Counsel, and (ii) that any objection made
22   by a Class Member represented by counsel must be filed through the Court’s
23   CM/ECF system.
24         4.3    Objections. Any member of the Class who intends to object to this
25   Agreement must include in the objection his/her name and address; include all
26   arguments, citations, and evidence supporting the objection (including copies of
27   any documents relied on); state that he or she is a Class Member; and provide a
28   statement indicating whether the objector intends to appear at the Final Approval
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 1   Hearing and, if so, whether the appearance will be with or without counsel. Any
 2   Class Member who fails to timely file a written objection with the Court and
 3   notice of his or her intent to appear at the Final Approval Hearing in accordance
 4   with the terms of this section and as detailed in this Notice, and at the same time
 5   provide copies to designated counsel for the Parties, shall not be permitted to
 6   object to this Agreement at the Final Approval Hearing, and shall be foreclosed
 7   from seeking any review of this Agreement by appeal or other means and shall be
 8   deemed to have waived his, her, or its objections and be forever barred from
 9   making any such objections in the Action or any other action or proceeding. To be
10   valid, the objection must be filed with the Court and delivered or postmarked and
11   sent via mail to Class Counsel and 7-Eleven’s Counsel on or before the
12   Objection/Exclusion Deadline approved by the Court and specified in the Short
13   Form and Long Form Notice.
14         4.4    Exclusion. A member of the Class may request to be excluded from
15   the Class in writing by a request postmarked on or before the Objection/Exclusion
16   Deadline approved by the Court and specified on the Notice. To exercise the right
17   to be excluded, a member of the Class must timely send a written request for
18   exclusion to the Settlement Administrator providing his/her name and address, the
19   name and number of the case, and a statement that such Person intends to be
20   excluded from the Settlement. A request to be excluded that does not include all of
21   this information, that is sent to an address other than that designated in the Notice,
22   or that is not postmarked within the time specified shall be invalid, and the
23   Person(s) serving such a request shall be a member(s) of the Class and shall be
24   bound as Class Members by the Agreement, if approved. Any Class Member who
25   elects to be excluded shall not: (i) be bound by any orders of the Final Order; (ii)
26   be entitled to relief under this Settlement Agreement; (iii) gain any rights by virtue
27   of this Agreement; or (iv) be entitled to object to any aspect of this Agreement.
28   The request for exclusion must be personally signed by the Person requesting
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 1   exclusion. So-called “mass” or “class” opt-outs shall not be allowed.
 2         4.5   Settlement Administration Costs are payable from the Settlement
 3   Fund, as approved by the Court.
 4         4.6   Binding Settlement. Any Class Member who does not, in
 5   accordance with the terms and conditions of this Agreement, seek timely
 6   exclusion from the Class or timely file an Approved Claim shall be deemed a
 7   Class Member bound by this Agreement, but shall not be entitled to receive any
 8   cash award or any other benefits pursuant to this Agreement but will otherwise be
 9   bound together with all respective Class Members by all of the terms of this
10   Agreement, including the terms of the Final Order to be entered in the Action and
11   Releases provided for in the Agreement, and will thus be barred from bringing any
12   action against any of the Released Parties concerning the Released Claims.
13   5.    SETTLEMENT ADMINISTRATION
14         5.1   Claims Process. The Settlement Administrator shall, under the
15   Court’s supervision, administer the relief provided by this Settlement Agreement
16   by processing Claim Forms in a rational, responsive, cost-effective, and timely
17   manner. The Settlement Administrator shall maintain reasonably detailed records
18   of its activities under this Agreement. The Settlement Administrator shall ensure
19   that all such records will be made available for inspection and copying to Class
20   Counsel and 7-Eleven’s Counsel upon request. The Settlement Administrator shall
21   also provide reports and other information to the Court as the Court may require.
22   The Settlement Administrator shall provide Class Counsel and 7-Eleven’s Counsel
23   with information concerning the Notice as well as the administration and
24   implementation of the Settlement Agreement. Should the Court request, the
25   Parties, in conjunction with the Settlement Administrator, shall submit a timely
26   report to the Court summarizing the work performed by the Settlement
27   Administrator, including a report of all amounts from the Settlement Fund paid to
28   Settlement Class Members on account of Approved Claims. Without limiting the
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 1   foregoing, the Settlement Administrator shall:
 2                a)      Forward to 7-Eleven’s Counsel and Class Counsel, all
 3   original (or suitable copies of) documents and other materials received in
 4   connection with the administration of the Settlement, within fifteen (15) days after
 5   the date on which all Claim Forms have been finally approved or disallowed in
 6   accordance with the terms of this Agreement;
 7                b)      Receive requests to be excluded from the Class and other
 8   requests from Class Members and promptly provide to Class Counsel and 7-
 9   Eleven’s Counsel copies upon receipt. If the Settlement Administrator receives
10   any requests for exclusion or other requests from Class Members after the
11   deadline for the submission of such forms and requests, the Settlement
12   Administrator shall promptly provide copies thereof to Class Counsel and 7-
13   Eleven’s Counsel.
14                c)      Provide weekly or other periodic reports to Class Counsel
15   and 7-Eleven’s Counsel, including without limitation, reports regarding the
16   number of Claim Forms received and the amount of the payments sought, the
17   number approved by the Settlement Administrator, and the categorization and
18   description of Claim Forms rejected, in whole or in part, by the Settlement
19   Administrator; and
20                d)      Make available for inspection and copying by Class Counsel
21   and/or 7-Eleven’s Counsel, the Claim Forms and any supporting documentation
22   received by the Settlement Administrator at any time upon reasonable notice.
23         5.2    Valid Claim Forms. The Settlement Administrator shall reject a
24   Claim Form, or any part of a Claim for a payment with due regard for 7-Eleven
25   records to verify the submissions of any claim presented, including without
26   limitation, where the name provided on the Claim Form does not appear on the
27   Class List or cannot be validated as having been considered for employment by 7-
28   Eleven. In addition, the Settlement Administrator shall be obliged to employ
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 1   reasonable procedures to screen claims for abuse or fraud and deny Claim Forms
 2   where there is evidence of abuse or fraud. The Settlement Administrator shall
 3   determine whether a Claim Form submitted by a Class Member is an Approved
 4   Claim and shall reject Claim Forms that fail to comply with the instructions or the
 5   terms of this Agreement, after giving the claimant a reasonable opportunity to
 6   provide any requested missing information, but in no event shall any Class
 7   Member have more than thirty (30) days after being noticed by the Settlement
 8   Administrator of any question or deficiency in the submitted Claim Form to
 9   answer the question or cure such deficiency.
10         5.3    Challenges to Validity of Claim Form. Both Class Counsel and 7-
11   Eleven, either individually or jointly, shall have the right to challenge the
12   acceptance or rejection of a Claim Form submitted by a Class Member. The
13   Settlement Administrator shall be bound by any agreed decisions of Class Counsel
14   and 7-Eleven’s Counsel as to the validity of any disputed Claim Form. To the
15   extent Class Counsel and 7-Eleven are not able to agree on the disposition of a
16   challenge, the Parties shall present such challenges to the mediator, Michael
17   Dickstein, for binding, non-appealable decision as to such challenge, subject to
18   any confidentiality provisions as necessary to assure the privacy of the person
19   whose claim is challenged.
20         5.4    Administrator’s Request for Information. In the exercise of its
21   duties outlined in this Agreement, the Settlement Administrator shall have the
22   right to reasonably request additional information from the Parties or any Class
23   Member.
24         5.5    Fairness Hearing. The Final Approval Hearing shall be no earlier
25   than forty-five (45) days after the Notice described in Section 4.1 is provided or
26   such other time as the Court shall set.
27         5.6    Confidentiality of Information. The Settlement Administrator and
28   the Parties each agree to keep all information received under Section 5 of this
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 1   Agreement—including the Class List and all personal information of the Class
 2   obtained therefrom—confidential and may use it only for purposes of effectuating
 3   this Agreement.
 4   6.    TERMINATION OR RESCISSION OF SETTLEMENT
 5         6.1    Termination Events. Subject to Section 9 below, the Class
 6   Representative, on behalf of the Class, or Defendant and each or any of them, shall
 7   have the right to terminate this Agreement by providing written notice of the
 8   election to do so (“Termination Notice”) to all other Parties within ten (10)
 9   business days of any of the following events: (i) the Court’s refusal to grant
10   Preliminary Approval of this Agreement in any material respect, including without
11   limitation the Court’s refusal to approve the reversion of monies remaining in the
12   Settlement Fund to 7-Eleven; (ii) the Court’s refusal to grant final approval of this
13   Agreement in any material respect; (iii) the Court’s refusal to enter the Final Order
14   in this Action in any material respect; (iv) the date upon which the Final Order is
15   modified or reversed in any material respect by the Court of Appeals or the
16   Supreme Court; or (v) the date upon which the Alternate Order, as defined in
17   Section 9.1(d) of this Agreement, is modified or reversed in any material respect
18   by the Court of Appeals or the Supreme Court.
19         6.2    Termination or Rescission by Defendant. Notwithstanding any
20   other provision contained herein to the contrary, Defendant shall have the right,
21   but not the obligation, to terminate and rescind this Agreement if over five (5)
22   percent of the Class files valid requests for exclusion from this Agreement. To
23   exercise this right, Defendant must provide written notice to Plaintiff no later than
24   fourteen (14) days following the Objection/Exclusion Deadline. If Defendant
25   terminates or rescinds this Agreement, then the Defendant’s obligations under the
26   Agreement will cease to have any force and effect, the Agreement will be vacated,
27   canceled, and annulled, and the Parties will return to the status quo ante as if they
28   had not entered into the settlement. In addition, the settlement and all negotiations
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 1   and proceedings related to the settlement will be without prejudice of the rights of
 2   the Parties, and evidence of the settlement, negotiations, and proceedings will be
 3   inadmissible and will not be discoverable.
 4   7.    PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL
           ORDER
 5
           7.1    Motion for Preliminary Approval. Promptly after the execution of
 6
     this Settlement Agreement, Class Counsel shall submit this Agreement together
 7
     with its Exhibits to the Court and shall move the Court for Preliminary Approval
 8
     of the settlement set forth in this Agreement and entry of a Preliminary Approval
 9
     Order, which order shall set a Final Approval Hearing date, the
10
     Objection/Exclusion deadline, the Claims Deadline, and approve the Notice and
11
     Claim Form for dissemination in accordance with the Notice Plan, substantially in
12
     the forms attached as Exhibits B and C.
13
           7.2    Final Approval Hearing. At the time of the submission of this
14
     Agreement to the Court as described above, Class Counsel shall request that, after
15
     Notice is given, the Court hold a Final Approval Hearing and approve the
16
     settlement of the Action as set forth in this Agreement.
17
           7.3    Final Approval Order. After Notice is given, Class Counsel shall
18
     request from the Court a Final Order. The Final Order will (among other things):
19
                  a)      find that the Court has personal jurisdiction over all Class
20
     Members and that the Court has subject matter jurisdiction to approve the
21
     Agreement, including all attached exhibits;
22
                  b)      approve the Agreement and the proposed settlement as fair,
23
     reasonable and adequate as to, and in the best interests of, the Class Members;
24
     direct the Parties and their counsel to implement and consummate the Agreement
25
     according to its terms and provisions; and declare the Agreement to be binding on
26
     all pending and future lawsuits or other proceedings maintained by or on behalf of
27
     Plaintiffs and the Releasing Parties;
28
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 1                c)       find that the Notice and the Notice Plan implemented
 2   pursuant to the Agreement (i) constitute the best practicable notice under the
 3   circumstances; (ii) constitute notice that is reasonably calculated, under the
 4   circumstances, to apprise the Class of the pendency of the Action, their right to
 5   object or exclude themselves from the proposed Agreement, and to appear at the
 6   Final Approval Hearing; (iii) are reasonable and constitute due, adequate, and
 7   sufficient notice to all persons entitled to receive notice; and (iv) meet all
 8   applicable requirements of the Federal Rules of Civil Procedure, the Due Process
 9   Clause of the United States Constitution, and the rules of the Court;
10                d)       find that the Class Representative and Class Counsel
11   adequately represented the Class for purposes of entering into and implementing
12   the Agreement;
13                e)       dismiss this Action (including all individual claims and class
14   action claims presented thereby) on the merits and with prejudice, without fees or
15   costs to any party except as provided in the Settlement Agreement;
16                f)       incorporate the Release set forth above, make the Release
17   effective as of the Effective Date, and forever discharge the Released Parties as set
18   forth in this Agreement;
19                g)       permanently bar and enjoin all Class Members who have not
20   been properly excluded from the Class from filing, commencing, prosecuting,
21   intervening in, or participating (as class members or otherwise) in, any lawsuit or
22   other action in any jurisdiction based on the Released Claims;
23                h)       authorize the Parties, without further approval from the
24   Court, to agree to and adopt such amendments, modifications and expansions of
25   the Settlement Agreement and its implementing documents (including all exhibits
26   to this Agreement) as (i) shall be consistent in all material respects with the Final
27   Order, or (ii) do not limit the rights of Class Members; and without affecting the
28   finality of the Final Order for purposes of appeal, retain jurisdiction as to all
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 1   matters relating to administration, consummation, enforcement, and interpretation
 2   of the Settlement Agreement and the Final Order, and for any other necessary
 3   purpose; and
 4                  i)     incorporate any other provisions, as the Court deems
 5   necessary and just.
 6
     8.    ATTORNEYS’ FEES AND REIMBURSEMENT OF EXPENSES AND
 7         CLASS REPRESENTATIVE INCENTIVE AWARD.
 8         8.1      Attorneys’ Fees and Costs. No later than fourteen (14) days before
 9   the Objection Deadline, Class Counsel may make written application to the Court
10   for a Fee Award not to exceed, in the aggregate, one-third (33.33%) of the
11   Settlement Fund. The Parties agree that the Court (and only the Court) shall
12   determine the final amount of the Fee Award in this Action. Any Fee Award shall
13   be paid out of the Settlement Fund.
14         8.2      Payment of Fees and Costs. Class Counsel shall, within seven (7)
15   days following the Funding Date, be paid the amount of attorneys’ fees and
16   expenses approved by the Court. Any payment of the Fee Award from the
17   Settlement Fund shall be paid by the Settlement Administrator via electronic
18   transfer to an account designated by Class Counsel providing necessary
19   information to the Settlement Administrator. Class Counsel agree and represent
20   that in no event shall Defendant collectively pay or be obligated to pay in excess
21   of the Fee Award determined by the Court for Class Counsel’s attorneys’ fees and
22   expenses.
23         8.3      Incentive Award for Class Representative. In addition to any
24   Approved Claim payment to which he may be entitled to under the Settlement
25   Agreement, and provided that he does so qualify for an Approved Claim, in
26   recognition of his efforts on behalf of the Class, the Class Representative shall,
27   subject to the approval of the Court, be awarded an incentive award in the
28   aggregate amount to be determined by the Court upon written application to the
     STIPULATION OF SETTLEMENT
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 1   Court made no later than fourteen (14) days before the Objection Deadline. 7-
 2   Eleven agrees that an incentive award of $5,000 is reasonable and that it shall not
 3   oppose such award, directly or indirectly. This sum shall be paid in recognition of
 4   the Plaintiff’s time, exposure, and effort serving as the Class Representative in this
 5   litigation. The Settlement Administrator shall pay said amount via check from the
 6   Settlement Fund to the Class Representative, such check to be sent care of Class
 7   Counsel, within seven (7) days after the Funding Date.
 8   9.    CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
 9         CANCELLATION, OR TERMINATION
10         9.1    Effective Date of Settlement. The Effective Date of this Settlement
11   Agreement shall not occur unless and until each of the following events occurs
12   and shall be the date upon which the last (in time) of the following events occurs:
13                a)     This Agreement has been signed by Class Counsel, the Named
14   Plaintiff, 7-Eleven and 7-Eleven’s Counsel;
15                b)     The Court has entered the Preliminary Approval Order;
16                c)     The Court has entered an order finally approving the
17   Agreement, following notice to the Class and a Final Approval Hearing, as
18   provided in the Federal Rules of Civil Procedure, and has entered the Final Order,
19   or an order substantially consistent with this Agreement; and
20                d)     The Final Order has become Final, as defined above, or, in the
21   event that the Court enters a final order in a form other than that provided above
22   (“Alternate Order”) and that has the consent of the Parties, such Alternate Order
23   becomes Final.
24         9.2    Failure of Effective Date. If some or all of the conditions specified
25   in Section 9.1 are not met, or in the event that this Agreement is not approved by
26   the Court, or the settlement set forth in this Agreement is terminated or fails to
27   become effective in accordance with its terms, then this Agreement shall be
28   canceled and terminated subject to Section 9.3 unless the Plaintiff and Defendant
     STIPULATION OF SETTLEMENT
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 1   mutually agree in writing to proceed with the Agreement. If any party to this
 2   Agreement is in material breach of the terms of this Agreement, any other party,
 3   provided that it is in substantial compliance with the terms of the Agreement, may
 4   terminate this Agreement on notice to all of the Settling Parties. Notwithstanding
 5   anything in this Agreement, the Parties agree that the Court’s failure to approve, in
 6   whole or in part, the attorneys’ fees payment to Class Counsel set forth in Section
 7   8.1 and 8.2 above shall not prevent the Agreement from becoming effective, nor
 8   shall it be grounds for termination.
 9         9.3    Status Quo Ante. If this Agreement is terminated or fails to become
10   effective for the reasons set forth in Sections 6.1, 6.2, 9.1 or 9.2 above, the Parties
11   shall be restored to their respective positions in the Action as of the date of the
12   signing of this Agreement with all claims or their defenses fully preserved. In such
13   event, any Final Order or other order entered by the Court in accordance with the
14   terms of this Agreement shall be treated as vacated, nunc pro tunc, and the Parties
15   shall be returned to the status quo ante with respect to the Action as if they had
16   never entered into this Agreement, subject to reasonable extensions of time as to
17   any deadlines.
18         9.4    No Admission of Liability. Nothing in this Agreement or in any
19   other document related to this Settlement will be construed as or deemed an
20   admission of liability, culpability, negligence, reckless disregard, or wrongdoing
21   on the part of Defendant. Likewise, nothing in this Agreement or in any other
22   document related to this Settlement will be construed as or deemed an admission
23   regarding the infirmity of any claim or legal argument or theory on the part of
24   Plaintiff. Each of the Parties has entered into this Agreement with the intention of
25   avoiding further disputes and litigation and the attendant inconvenience, expense,
26   and unpredictability.
27         10.    MISCELLANEOUS PROVISIONS
28         10.1 Good Faith Efforts. The Parties: (i) acknowledge that it is their
     STIPULATION OF SETTLEMENT
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 1   intent to consummate this Settlement Agreement; and (ii) agree, subject to their
 2   ethical, fiduciary, and legal obligations, to cooperate to the extent reasonably
 3   necessary to effectuate and implement all terms and conditions of this Agreement
 4   and to exercise their reasonable best efforts to accomplish the foregoing terms and
 5   conditions of this Agreement. The Parties, Class Counsel, and 7-Eleven’s Counsel
 6   all agree to cooperate with one another in seeking Court approval of the
 7   Preliminary Approval order, the Settlement Agreement, and the Final Order, and
 8   promptly to agree upon and execute all such other documentation as may be
 9   reasonably required to obtain final approval of the Agreement.
10         10.2 All Disputes Resolved. The Parties intend this Settlement Agreement
11   to be a final and complete resolution of all disputes between them with respect to
12   the Released Claims by the Releasing Parties and each or any of them, on the one
13   hand, against the Released Parties, and each or any of them, on the other hand.
14   Accordingly, the Parties agree not to assert in any forum that the Action was
15   brought by Plaintiff or defended by Defendant, or each or any of them, in bad faith
16   or without a reasonable basis.
17         10.3 Advice of Counsel. The Parties have relied upon the advice and
18   representation of counsel, selected by them, concerning their respective legal
19   liability for the claims hereby released. The Parties have read and understand fully
20   this Agreement and have been fully advised as to the legal effect thereof by
21   counsel of their own selection and intend to be legally bound by the same.
22         10.4 No Admission or Concessions. Whether or not the Effective Date
23   occurs or the Settlement Agreement is terminated, neither this Agreement nor the
24   settlement contained in this Agreement, nor any act performed or document
25   executed pursuant to or in furtherance of this Agreement or the settlement:
26                a)      is, may be deemed, or shall be used, offered or received
27   against the Released Parties, or each or any of them, as an admission, concession,
28   or evidence of, the validity of any Released Claims, the truth of any fact alleged by
     STIPULATION OF SETTLEMENT
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 1   the Plaintiffs, the deficiency of any defense that has been or could have been
 2   asserted in the Action, the violation of any law or statute, the reasonableness of the
 3   settlement amount or the fee award, or of any alleged wrongdoing, liability,
 4   negligence or fault of the Released Parties, or any of them;
 5                b)      is, may be deemed, or shall be used, offered, or received
 6   against the Settlement Class as an admission, concession, or evidence of any fault,
 7   misrepresentation, or omission with respect to any statement or written document
 8   approved or made by the Released Parties, or any of them;
 9                c)      is, may be deemed, or shall be used, offered, or received
10   against the Released Parties, or each or any of them, as an admission or concession
11   with respect to any liability, negligence, fault or wrongdoing as against any
12   Released Parties, in any civil, criminal, or administrative proceeding in any court,
13   administrative agency, or other tribunal. However, the settlement, this Agreement,
14   and any acts performed or documents executed in furtherance of or pursuant to this
15   Agreement or Settlement may be used in any proceedings as may be necessary to
16   enforce the provisions of this Agreement. If this Settlement Agreement is approved
17   by the Court, any of the Parties or any of the Released Parties may file this
18   Agreement or the Final Order in any action that may be brought against such Party
19   or Parties in order to support a defense or counterclaim based on principles of res
20   judicata, collateral estoppel, waiver, release, accord and satisfaction, good faith
21   settlement, judgment bar or reduction, or any other theory of claim preclusion or
22   issue preclusion or similar defense or counterclaim;
23                d)      is, may be deemed, or shall be construed against Plaintiffs, the
24   Settlement Class or each or any of them, or against the Released Parties, or each or
25   any of them, as an admission or concession that the consideration to be given
26   hereunder represents an amount equal to, less than, or greater than that amount that
27   could have or would have been recovered after trial; and
28                e)      is, may be deemed, or shall be construed as or received in
     STIPULATION OF SETTLEMENT
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 1   evidence as an admission or concession against Plaintiffs, the Settlement Class, or
 2   each and any of them, or against the Released Parties, or each or any of them, that
 3   any of Plaintiffs’ claims are with or without merit or that damages recoverable in
 4   the Action would have exceeded or would have been less than any particular
 5   amount.
 6         10.5 Headings/Captions. The headings used in this Agreement are used
 7   for the purpose of convenience only and are not meant to have legal effect.
 8         10.6 Waiver. The waiver by one Party of any breach of this Agreement by
 9   any other Party shall not be deemed as a waiver of any other prior or subsequent
10   breaches of this Agreement. The Parties agree that this Agreement may not be
11   waived except by a writing signed by the Class Representative and a duly-
12   authorized representative of Defendant.
13         10.7 Recitals and Exhibits. All the Recitals and Exhibits to this
14   Agreement are material and integral parts of it and are fully incorporated into this
15   Agreement by this reference.
16         10.8 Entire Agreement. This Agreement and its Exhibits set forth the
17   entire agreement and understanding of the Parties with respect to the matter set
18   forth herein, and supersede all prior negotiations, agreements, arrangements, and
19   undertakings with respect to the matters set forth herein. No representations,
20   warranties, or inducements have been made to any Party concerning this
21   Settlement Agreement or its Exhibits other than the representations, warranties,
22   and covenants contained and memorialized in such documents. This Agreement
23   may be amended or modified only by a written instrument signed by or on behalf
24   of each of the Parties and their duly-authorized representatives or their respective
25   successors-in-interest.
26         10.9 Defendants’ Fees and Costs. Defendant shall bear its own attorneys’
27   fees and costs.
28         10.10 No Assignments. All Parties represent and warrant that they have not
     STIPULATION OF SETTLEMENT
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 1   assigned any claim or right or interest therein as against the Released Parties to
 2   any other Person or Party and that they are fully entitled to release the same.
 3         10.11 Authorized Signatures. Each counsel or other Person executing this
 4   Settlement Agreement, any of its Exhibits, or any related settlement documents on
 5   behalf of any Party to this Agreement warrants and represents that such Person has
 6   the full authority to do so and has the authority to take appropriate action required
 7   or permitted to be taken pursuant to the Agreement to effectuate its terms.
 8         10.12 Counterparts Same as Original. This Agreement may be executed
 9   in one or more counterparts. All executed counterparts and each of them shall be
10   deemed to be one and the same instrument provided that counsel for the Parties to
11   this Agreement all exchange original signed counterparts. A complete set of
12   original executed counterparts shall be filed with the Court if the Court so
13   requests.
14         10.13 Successors and Assigns. This Settlement Agreement shall be binding
15   on, and inure to the benefit of, the successors and assigns of the Parties to this
16   Agreement and the Released Parties. The Parties represent, covenant, and warrant
17   that they have not directly or indirectly assigned, transferred, encumbered, or
18   purported to do so to any person or entity any portion of any liability, claim,
19   demand, action, cause of action, or rights released and discharged as set forth in
20   this Agreement.
21         10.14 Jurisdiction Over Agreement. This Court shall retain jurisdiction
22   with respect to implementation and enforcement of the terms of this Agreement,
23   and all Parties to this Agreement submit to the jurisdiction of the Court for
24   purposes of implementing and enforcing the settlement embodied in this
25   Agreement.
26         10.15 Stay of Proceedings Pending Preliminary and Final Approval.
27   All proceedings in the Action shall be stayed and abated following entry of the
28   Preliminary Approval Order, except as may be necessary to implement the
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 1   Settlement Agreement or comply with the terms of the Settlement. Pending
 2   determination of whether the Settlement Agreement should be granted final
 3   approval, the Parties in the Action agree not to pursue any claims or defenses
 4   otherwise available to them.
 5         10.16 No Admissions or Concessions. Whether or not the Settlement
 6   Agreement is signed or otherwise approved or if this Settlement Agreement is
 7   terminated, neither this Settlement Agreement not the settlement contained herein,
 8   nor any act performed or document executed pursuant to or in furtherance of this
 9   Agreement or the settlement may be deemed, or shall be used, offered or received
10   against the Released Parties, or each or any of them, as an admission, concession
11   or evidence of, the validity of any Released Claims, the truth of any fact alleged
12   by the Plaintiff, the deficiency of any defense that has been or could have been
13   asserted in the Action, the violation of any law or statute, the reasonableness of the
14   settlement amount or the fee award, or of any alleged wrongdoing, liability,
15   negligence, or fault of the Released Parties, or any of them. Additionally, neither
16   the Settlement, nor any act performed or document executed pursuant to or in
17   furtherance of the Settlement, is or may be deemed a waiver of 7-Eleven’s right to
18   challenge the Court’s prior grant of class certification if this Settlement for any
19   reason does not become Final.
20         10.17 Applicable Law. This Settlement Agreement shall be governed by
21   and construed in accordance with the laws of the State of California.
22         10.18 Arms-Length Negotiations. This Agreement is deemed to have been
23   prepared by counsel for all Parties, as a result of arm’s-length negotiations among
24   the Parties with the aid of a neutral mediator. Whereas all Parties have contributed
25   substantially and materially to the preparation of this Agreement, it shall not be
26   construed more strictly against one Party than another.
27         10.19 Notice to Parties and Counsel. Where this Agreement requires
28   notice to the Parties, such notice shall be sent to the undersigned counsel by email
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 1   to their designated accounts in the Action, certified mail in care of the United
 2   States Postal Service (USPS) or by overnight mail in care of the USPS or such
 3   recognized commercial carrier as Federal Express, UPS or the like with proof of
 4   delivery:
 5         (a)    For Plaintiff & the Class: Steven L. Woodrow, Patrick H. Peluso,
 6         Woodrow & Peluso, LLC, 3900 East Mexico Avenue, Suite 300, Denver,
 7         Colorado 80210, swoodrow@woodrowpeluso.com,
 8         ppeluso@woodrowpeluso.com; and
 9         (b)    For 7-Eleven: Julie R. Trotter, Delavan J. Dickson, and Kent R.
10         Christensen CALL & JENSEN, 610 Newport Center Drive, Suite 700,
11         Newport Beach, California 92660, jtrotter@calljensen.com,
12         ddisckson@calljensen.com, kchristrensen@calljensen.com
13
14                            [SIGNATURE PAGE FOLLOWS]

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                         EXHIBIT A
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             UNITED STATES DISTRICT COURT FOR THE
        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
If 7-Eleven, Inc. (“7-Eleven”) Obtained a Background Check in Regard to Your
     Actual or Prospective Employment, You Could Get a Payment from a
                             Class Action Settlement

        A Federal Court authorized this notice. This is not a solicitation from a lawyer.

    •      A Settlement has been reached in a class action lawsuit about whether 7-Eleven used
           a disclosure form when it obtained background checks about its applicants and
           employees that complied with the Fair Credit Reporting Act, 15 U.S.C. § 1681b et
           seq. (“FCRA”) and whether 7-Eleven provided other notices required by the FCRA.

    •      Persons included in the Settlement who file valid Claim Forms will be eligible to
           receive a payment from the Settlement Fund up to five-hundred fifty dollars ($550).
           The actual amount of the payments will be based on the number of valid claim forms
           submitted, administrative costs, and any incentive award or attorney’s fees and
           expenses approved by the Court.

    •      Please read this notice carefully. Your legal rights are affected whether you act, or
           don’t act.


             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

SUBMIT A CLAIM FORM                 This is the only way to receive a payment.

EXCLUDE YOURSELF                    You will receive no benefits, but you will retain any rights you
                                    currently have to sue the Defendant about the claims in this
                                    case.

OBJECT                              Write to the Court explaining why you don’t like the
                                    Settlement.

GO TO THE HEARING                   Ask to speak in Court about your opinion of the Settlement.

DO NOTHING                          You won’t get a share of the Settlement benefits but still give
                                    up your rights to sue the Defendant about the claims in this case.


  These rights and options – and the deadlines to exercise them – are explained in this Notice

                                 BASIC INFORMATION



  CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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  1. Why was this Notice issued?

A Court authorized this notice because you have a right to know about the proposed Settlement of this
class action lawsuit and about all of your options, before the Court decides whether to give final approval
to the Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.

Judge R. Gary Klausner of the U.S. District Court for the Central District of California is overseeing this
case. The case is known as Edwardo Munoz v. 7-Eleven, Inc., Case No. 2:18-cv-03893-RGK-AGR. Mr.
Munoz, the person who sued, is called the Plaintiff/Class Representative. The Defendant is 7-Eleven.

  2. What is a Class Action?

In a class action, one or more named plaintiffs called Class Representatives (in this case, Edwardo Munoz)
sues on behalf of a group or a “class” of people who have similar claims. In a class action, the court
resolves the issues for all Class Members, except for those who exclude themselves from the Class.

  3. What is this Lawsuit about?

This lawsuit alleges that 7-Eleven violated the Fair Credit Reporting Act, 15 U.S.C. § 1681b et seq.
(“FCRA”) by not using a “standalone” disclosure and authorization that notified applicants and employees
that it might obtain background checks in regard to their employment. 7-Eleven denies that it violated any
law and maintains that it could have asserted several defenses.

The Court has not determined who is right. Rather, the Parties have agreed to settle the lawsuit to avoid
the uncertainties and expenses associated with ongoing litigation.

  4. Why is there a Settlement?

The Court has not decided whether the Plaintiff or the Defendant should win this case. Instead, both sides
agreed to a Settlement. That way, they avoid the uncertainties and expenses associated with ongoing
litigation, and Class Members will get compensation now rather than, if at all, years from now.

                            WHO’S INCLUDED IN THE SETTLEMENT?

  5. How do I know if I am in the Settlement Class?

The Court in this case certified a class and subclass on October 18, 2018 (dkt. 43), defined as follows:

       Disclosure Class: All persons in the United States who (1) from a date [two years] prior to the
       filing of this initial complaint in this action to the date notice is sent to the Disclosure Class;
       (2) applied for employment with Defendant; (3) about whom Defendant procured a consumer
       repot; and (4) who were provided the same form FCRA disclosure and authorization as the
       disclosure and authorization form that Defendant provided to Plaintiff.




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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       California Subclass: All members of the Disclosure Class who reside in California.

                                    THE SETTLEMENT BENEFITS

  6. What does the Settlement provide?

7-Eleven has agreed to fund a Settlement Fund of $1,972,500 U.S. dollars. The cost to send notice to the
class and administer the Settlement, as well as attorneys’ fees and payments to the Class Representatives,
will come out of this amount (see Question 13). The amount remaining after deducting these costs (the
"Net Settlement Fund") will be used to pay the claims of eligible Class Members who submit valid claims.

Persons who file valid claims and who are part of this class according to 7-Eleven's records will be eligible
to receive One (1) Claimant Payment of equal value from the Net Settlement Fund.

  7. How much will my payment be?

If you are member of the Class and the Court gives final approval to the Settlement, you may be entitled
to receive a check for an amount equal to the value of the One (1) Claimant Payment. The amount of your
exact payment cannot be calculated at this time. Your payment will depend on the total number of valid
claims that are filed, the cost of the Notice, and any incentive award to the Class Representatives and
award of attorneys' fees to Class Counsel. The Class is estimated to include approximately 59,920 persons.

  8. When will I get my payment?

You should receive a check from the settlement administrator within 60-90 days after the Settlement has
been finally approved and/or after any appeals have been resolved in favor of the Settlement. The hearing
to consider the final fairness of the Settlement is scheduled for [Fairness Hearing Date.] All checks will
expire and become void 90 days after they are issued.

                                       HOW TO GET BENEFITS

  9. How do I get benefits?

If you are a Class Member and you want to participate in the Settlement, you must complete and submit
a Claim Form, under penalty of perjury, by [CLAIMS DEADLINE]. The Claim form is included with
this notice and can be found by calling, toll free, 1-800-000-0000 or by contacting Class Counsel at (720)
213-0676. The Claim Form can be submitted online at the Settlement Website or downloaded and
submitted by mail.

                                 REMAINING IN THE SETTLEMENT
  10. What am I giving up if I stay in the Class?

If the Settlement becomes final, you will give up your right to sue 7-Eleven for the claims being resolved
by this Settlement. The specific claims you are giving up against 7-Eleven are described in Section 1.36
of the Settlement Agreement. You will be “releasing” the Defendant and all related people as described



     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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in Section 1.37 of the Settlement Agreement. Unless you exclude yourself (see Questions 14 & 15), you
are “releasing” the claims, regardless of whether you submit a claim form or not. The Settlement
Agreement is available at www.[settlementwebsite].com.

The Settlement Agreement describes the released claims with specific descriptions, so read it carefully. If
you have any questions you can talk to Class Counsel listed in Questions 12 and 17 for free or you can,
of course, talk to your own lawyer if you have questions about what this means.

   11. What happens if I do nothing at all?

If you do nothing, you won’t get any benefits from this Settlement. But, unless you exclude yourself, you
won’t be able to start a lawsuit or be part of any other lawsuit against the Defendant for the claims being
resolved by this Settlement.

                               THE LAWYERS REPRESENTING YOU

   12. Do I have a lawyer in the case?

The Court has appointed Steven L. Woodrow, Patrick H. Peluso, and Taylor T. Smith of Woodrow &
Peluso, LLC, to be the attorneys representing the Settlement Class. They are called “Class Counsel.” Class
Counsel believes, after conducting an extensive investigation, that the Settlement Agreement is fair,
reasonable, and in the best interests of the Class and Subclass. You will not be charged for these lawyers.
If you want to be represented by your own lawyer in this case, you may hire one at your expense. You
may also enter an appearance though an attorney if you so desire.

   13. How will the lawyers be paid?

The Settlement Agreement allows Class Counsel to submit a petition for reasonable attorneys' fees of up
to ______________ of the Settlement Fund as fees and expenses for investigating the facts, litigating the
case, and negotiating the Settlement in this matter. Class Counsel may seek, and the Court may award
less, than this amount. Under the Settlement Agreement, any amount awarded to Class Counsel will be
paid out of the Settlement Fund.

Subject to approval by the Court, Defendant has agreed to pay an incentive award to the Class
Representative from the Settlement Fund for his service in helping to litigate and settle this case.

                        EXCLUDING YOURSELF FROM THE SETTLEMENT

   14. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter (or request for exclusion) by mail stating
that you want to be excluded from Edwardo Munoz v. 7-Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR.
Your letter or request for exclusion must also include your name, your address, the phone number that
received the relevant telephone calls, and your signature. You must mail your exclusion request so that it
is postmarked no later than [Objection/Opt Out Deadline] to:




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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Edwardo Munoz v. 7-Eleven, Inc.
Case No. 2:18-cv-03893-RGK-AGR
[Address Line 1]
[Address Line 2]
[TOLL FREE NUMBER]

The Court will exclude from the Class or Subclass any Class or Subclass Member who timely requests
exclusion from the Class or Subclass.

  15. If I don’t exclude myself, can I sue the Defendant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue 7-Eleven for the claims being resolved by
this Settlement.

  16. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for benefits.

                                OBJECTING TO THE SETTLEMENT

   17. How do I object to the Settlement?

If you’re a Class or Subclass Member, you can object to the Settlement if you don’t like any part of it.
You can give reasons why you think the Court should not approve it. The Court will consider your
views. To object, you must send a letter stating that you object to the Settlement in Edwardo Munoz v. 7-
Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR, identify all your reasons for your objections
(including citations and supporting evidence), and attach any materials you rely on for your objections.
Your letter or brief must also include your name, your address, and your signature.

Class Counsel will file with the Court and post on the Settlement Website under the "Important
Documents" tab, its request for attorneys’ fees two weeks prior to the objection deadline.

If you want to appear and speak at the Final Approval Hearing to object to the Settlement, with or without
a lawyer (explained below in answer to Question Number 21), you must say so in your letter or brief. Mail
the objection to these three places postmarked no later than Month 00, 2019:

      Court                          Class Counsel                        Defense Counsel

  The Honorable R.              Steven Woodrow                       Julie R. Trotter
  Gary Klausner                 swoodrow@woodrowpeluso.com           jtrotter@calljensen.com
  c/o Clerk of the Court        Woodrow & Peluso, LLC                CALL & JENSEN
                                                                     610 Newport Center Drive
  Roybal Federal Building       3900 East Mexico Ave.                Suite 700
  and U.S. Courthouse,          Ste. 300                             Newport Beach, CA 92660
  255 East Temple Street        Denver, CO 80210                     949-717-3000
  Los Angeles, CA 90012         (720) 213-0675




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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   18. What’s the difference between objecting and excluding myself from the Settlement?

Objecting simply means telling the Court that you don’t like something about the Settlement. You can
object only if you stay in the Class. Excluding yourself from the Class is telling the Court that you don’t
want to be part of the Class. If you exclude yourself, you have no basis to object because the case no
longer affects you.

                           THE COURT’S FINAL APPROVAL HEARING

   19. When and where will the Court decide whether to approve the Settlement?

The Court will hold the Fairness Hearing at [time] on Month 00, 2019 at the [insert where]. The purpose
of the hearing will be for the Court to determine whether to approve the Settlement as fair, reasonable,
adequate, and in the best interests of the Class; to consider the Class Counsel's request for an award of
attorneys’ fees and expenses; and to consider the request for an incentive award to Class Representative.
At that hearing, the Court will be available to hear any objections and arguments concerning the fairness
of the Settlement.

The hearing may be postponed to a different date or time without notice, so it is a good idea to check with
Class Counsel by calling [insert phone #]. If, however, you timely object to the Settlement and advise the
Court that you intend to appear and speak at the Fairness Hearing, you will receive notice of any change
in the date of such Fairness Hearing.

   20. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to come at your
own expense. If you send an objection or comment, you don’t have to come to Court to talk about it. As
long as you mailed your written objection on time, the Court will consider it. You may also pay another
lawyer to attend, but it’s not required.

   21. May I speak at the hearing?

Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send a
letter saying that it is your “Notice of Intent to Appear in Edwardo Munoz v. 7-Eleven Case No. 2:18-cv-
03893-RGK-AGR” It must include your name, address, telephone number and signature as well as the
name and address of your lawyer, if one is appearing for you. Your Notice of Intent to Appear must be
postmarked no later than Month 00, 2019, and be sent to the addresses listed in Question 17. You must
also state in your objection that you plan on appearing at the hearing.

                                  GETTING MORE INFORMATION

   22. Where do I get more information?




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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This Notice summarizes the Settlement. More details are in the full Settlement Agreement. You can
get a copy of the Settlement Agreement by writing the Settlement Administrator at P.O. Box 0000,
City, ST 00000 or by visiting www.[settlementwebsite].com. You can call the Settlement
Administrator at 1-800-000-0000 or Class Counsel at 1-720-213-0676, if you have any questions.
Before doing so, however, please read this full Notice carefully.




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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                         EXHIBIT B
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                                         Edwardo Munoz v. 7-Eleven, Inc. Case
                                         No. 2:18-cv-03893-RGK-AGR
                                         [Settlement Administrator]
                                         [Address Line 1]
                                         [Address Line 2]
                                         [Address Line 3]




                                               |||||||||||||||||||||||||||||||||
                                               Postal Service: Please do not mark barcode

                                               ABC-1234567-8

                                               First Last
                                               Address1
                                               Address2
                                               City, State, Zip Code
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Summary Notice
You are receiving this notice because you have been identified as a settlement class member
in Edwardo Munoz v. 7-Eleven, Inc. 2:18-cv-03893-RGK-AGR, pending in the U.S. District
Court for the Central District of California. The Court has preliminarily approved a settlement
that could impact your legal rights, whether you act or not. This is only a summary of the Full
Notice. Visit www.[website].com to read the Full Notice, submit a Claim Form, and view
important court dates and documents

Nature of the Action. This lawsuit alleges that 7-Eleven obtained background checks
regarding applicants and employees in violation of the Fair Credit Reporting Act, 15 U.S.C.       To request exclusion, submit your signed statement
§ 1681b, et. seq. The Class Representative claims that 7-Eleven obtained the background           that says “I wish to be excluded from Edwardo Munoz
checks unlawfully insofar as it didn’t provide a standalone disclosure and authorization as       v. 7-Eleven, Inc.
required by the Act prior to procuring the background check report. 7-Eleven denies that it       Case 2:18-cv-03893-RGK-AGR to:
violated any laws and asserts several defenses. The Court has not determined who is right.
Rather, you are receiving this legal notice because your rights may be impacted by the
settlement regardless of whether you file a claim.                                                Epiq Systems
                                                                                                  Edwardo Munoz v. 7-Eleven, Inc.
How Do I Know if I am a Class Member? You fall into the definition of the Settlement              Case No. 2:18-cv-03893-RGK-AGR
Class if you applied to work at 7-Eleven from _____________ to ________________ and
had 7-Eleven obtained a background check regarding your employment.                               [Address Line 1]
                                                                                                  [Address Line 2]
What are My Options? You may submit a Claim Form to be paid your share of the Net                 [TOLL FREE NUMBER]
Settlement Fund (equal to the Settlement Fund of $_______________ less all approved
Settlement Administration Expenses, and any Incentive Awards and the Fee Award to Class           For all other inquiries, contact Class Counsel at:
Counsel). You can discuss the case with Class Counsel. You may also enter an appearance
though an attorney if you so desire. You may also request to be excluded, and the Court will       Edwardo Munoz v. 7-Eleven, Inc.
exclude any member who timely requests exclusion. To request exclusion, you must mail a            Case 2:18-cv-03893-RGK-AGR
signed statement that says “I wish to be excluded from Edwardo Munoz v. 7-Eleven, Inc.             Class Counsel
Case No. 17-cv-11630-NGE” to the Settlement Administrator, postmarked by [opt-
out/objection deadline]. Specific information is available at www.website.com. If you do           Woodrow & Peluso, LLC
nothing you will be in the Class and you will also be bound by all orders and judgments of         3900 East Mexico Ave., Ste. 300
the Court entered under Rule 23(c)(3); however, you will NOT receive a share of the Net            Denver, CO 80210
Settlement Fund. You MUST file a Claim Form to receive a payment. If you request                   (720) 213-0676 swoodrow@woodrowpeluso.com
exclusion, you will not be able to participate in the settlement.

Who Represents Me? The Court has appointed Steven L. Woodrow, Patrick H. Peluso, and
Taylor T. Smith of Woodrow & Peluso, LLC to be the attorneys for the Class. These attorneys
are referred to as Class Counsel. You may hire your own lawyer at your own expense.

  w Do I Get More Information? For more information about the proposed settlement
and a copy of the full Notice and Claim Form, go to www.[website].com, contact the
Administrator at [toll free #] or [Address] or call Class Counsel at 720-213-0676.
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                         EXHIBIT C
            Case 2:18-cv-03893-RGK-AGR Document 85-1 Filed 06/17/19 Page 52 of 52 Page ID
                            Munoz v. 7-Eleven, Inc. FCRA
                                                      #:978Settlement CLAIM FORM

                                Edwardo Munoz v. 7-Eleven, Inc., Case No. 2:18-cv-03893-RGK-AGR

       Return this Claim Form to: [Settlement Administrator], [address]. Questions, visit www.[SettlementWebsite].com or call (_________________
   DEADLINE: THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE], BE
 FULLY COMPLETED, BE SIGNED UNDER OATH, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: If you applied for work at 7-Eleven, Inc. (“7-Eleven” or “Defendant”) and had a background check obtained regarding your employment, you
may be entitled to a monetary payment if the settlement is finally approved by the Court. If the settlement is approved, each class member, whether or not he
or she submits a claim, will release the Defendant and related entities, and all their officers, agents, employees, and those working with them, from any and all
claims as a result of the background check disclosures that are the subject of this litigation. Only one claim per applicant or employee is allowed, regardless of
how many notices were received/viewed or the number of background checks procured.

     Claimants who are part of this class will receive one (1) Claim Payment from the Net Settlement Fund, which equals $1,972,500 less all Settlement
      Administration Expenses, and any approved Incentive Award and Fee Award. Claim Payments will be of equal value and will not exceed $550.

                              YOU MUST SUBMIT THIS CLAIM FORM TO RECEIVE A SETTLEMENT PAYMENT.

Please note that if you are a Class Member, the Class Member Verification section below requires you to state, under penalty of perjury, that all information
                                                          contained herein is true and correct.

                                                  Call Class Counsel at 720.213.0676 for Further Information

                                                       YOUR CONTACT INFORMATION

    Name: _______________________________                    ________        _________________________________
                              (First)                          (Middle)                           (Last)

    Current Address: ________________________________________________________________________
    (You must provide a street address. A P.O. box will not be accepted.)
    _______________________________________                        ____ ____        ____ ____ ____ ____ ____
    (City)                                                           (State)               (Zip Code)

    Current Phone Number: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___
    (Please provide a phone number where you can be reached if further information is required.)

                                                          Class Member Verification
    By submitting this claim form and checking the boxes below, I declare under penalty of perjury that I applied for work at a 7-Eleven, Inc.
    corporate location and had a background check procured in regards to my potential or actual employment.
                            ************************************************************************
                                 Additional information regarding the settlement can be found at [website.com].

    The Claims Administrator may audit any and all claims. I declare under penalty of perjury that the foregoing is true and correct.

    Signature: _________________________________                                  Date: _____________________________________

                                                                                  Your claim will be reviewed by the Settlement Administrator. If
    Print Name: ________________________________                                  accepted you will be mailed a check for your share of the Settlement
                                                                                  based on the Units for which you are eligible. Please be patient.

CLAIM FORMS MUST BE POSTMARKED NO LATER THAN [Claims Deadline] TO BE ELIGIBLE FOR PAYMENT. MAIL THIS CLAIM
FORM TO: Claims Administrator, [Address]. If you have questions, you may call the Settlement Administrator at [toll-free #] or Class Counsel at
1 720-213-0676.
